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1 ERIN E. SCHNEIDER (Cal. Bar No. 216114)
  MONIQUE C. WINKLER (Cal. Bar No. 213031)
2 BERNARD B. SMYTH (Cal. Bar No. 217741)
   smythb@sec.gov
3 THOMAS J. EME (Ill. Bar No. 6224870)
   emet@sec.gov
4 DAVID ZHOU (NY Bar No. 4926523)
   zhoud@sec.gov
5
  Attorneys for Plaintiff
6 SECURITIES AND EXCHANGE COMMISSION
  44 Montgomery Street, Suite 2800
7 San Francisco, CA 94104
  Telephone: (415) 705-2500
8 Facsimile: (415) 705-2501

9
                               UNITED STATES DISTRICT COURT
10

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                SAN FRANCISCO DIVISION

13

14 SECURITIES AND EXCHANGE COMMISSION,         Case No. 21-cv-01911-CRB

15              Plaintiff,                     DECLARATION OF BERNARD B. SMYTH
                                               IN SUPPORT OF SECURITIES AND
16        v.                                   EXCHANGE COMMISSION’S MOTION
                                               TO SERVE DEFENDANTS BY
17 JESSICA RICHMAN and ZACHARY APTE,           ALTERNATIVE MEANS

18              Defendants.                    Courtroom: 6, 17th Floor

19                                             Date:       Friday, July 16, 2021

20                                             Time:       10:00 a.m.

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     SMYTH DECL. ISO MOTION TO SERVE                                 SEC V. RICHMAN, ET A L.
     DEFENDANTS BY ALTERNATIVE MEANS                               CASE NO. 21-CV-01911-CRB
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 1                             DECLARATION OF BERNARD B. SMYTH
 2          I, Bernard B. Smyth, declare:
 3          1.      I am an attorney duly admitted to practice in the State of California. I am a Trial
 4 Counsel in the San Francisco Regional Office of the United States Securities and Exchange

 5 Commission (“Commission”). I am one of the attorneys who has primary responsibility for litigating

 6 this matter. I am making this Declaration based upon facts within my personal knowledge, and to

 7 which I am competent to testify if called upon to do so.

 8          2.      On January 13, 2021, I, along with other Commission staff, participated in a call with
 9 Simona Agnolucci of the law firm Willkie Farr & Gallagher LLP regarding her then client, Jessica

10 Richman. During the call, the Commission staff explained the basis of its preliminary determination

11 to recommend to the Commission that it file an enforcement action against Ms. Richman charging

12 her with violations of antifraud provisions of the federal securities laws.

13          3.      On January 14, 2021, I, along with other Commission staff, participated in a call with
14 W. Douglas Sprague of the law firm Covington & Burling LLP regarding his client, Zachary Apte.

15 During the call, the Commission staff explained the basis of its preliminary determination to

16 recommend to the Commission that it file an enforcement action against Mr. Apte charging him with

17 violations of antifraud provisions of the federal securities laws.

18          4.      On March 18, 2021, the day this action was filed, I emailed the following documents
19 to Mr. Sprague: (i) a copy of the file-stamped complaint in this action, (ii) a notice and request for

20 waiver of service of the summons for Mr. Apte, and (iii) a waiver of service form for Mr. Apte.

21 Attached as Exhibit A is a true and correct copy of my March 18, 2021 email to Mr. Sprague with

22 attachments other than the file-stamped complaint.

23          5.      On March 18, 2021, the day this action was filed, I emailed the following documents
24 to Ms. Agnolucci: (i) a copy of the file-stamped complaint in this action, (ii) a notice and request for

25 waiver of service of the summons for Ms. Richman, and (iii) a waiver of service form for Ms.

26 Richman. Attached as Exhibit B is a true and correct copy of my March 18, 2021 email to Ms.

27 Agnolucci with attachments other than the file-stamped complaint.

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      SMYTH DECL. ISO MOTION TO SERVE                  2                           SEC V. RICHMAN, ET A L.
      DEFENDANTS BY ALTERNATIVE                                                  CASE NO. 21-CV-01911-CRB
      MEANS
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 1          6.     On March 18, 2021, I received a response to my email of the same day to Ms.
 2 Agnolucci in which she informed the Commission staff for the first time that she no longer

 3 represented Ms. Richman. Attached as Exhibit C is a true and correct copy of the email I received

 4 from Ms. Agnolucci.

 5          7.     On March 18, 2021, after learning that Ms. Agnolucci no longer represented Ms.
 6 Richman, I emailed the following documents to Joel Hammerman of the law firm Faegre Drinker

 7 Biddle & Reath LLP: (i) a copy of the file-stamped complaint in this action, and (ii) a notice and

 8 request for waiver of service of the summons for Ms. Richman. Attached as Exhibit D is a true and

 9 correct copy of my March 18, 2021 email to Mr. Hammerman with attachments other than the copy

10 of the file-stamped complaint.

11          8.     On March 22, 2021, I received an email from Mr. Sprague stating that “[i]f Mr. Apte
12 elects to waive service of the summons, that will be communicated to you.” Attached as Exhibit E is

13 a true and correct copy of the May 22, 2021 email I received from Mr. Sprague.

14          9.     On March 22, 2021, I received an email from Mr. Hammerman stating that “[i]f Ms.
15 Richman elects to waive service of the summons, that will be communicated to you.” Attached as

16 Exhibit F is a true and correct copy of the May 22, 2021 email I received from Mr. Hammerman.

17          10.    As of the date of this Declaration, I have not received any further communications
18 from Mr. Sprague or Mr. Hammerman regarding their client’s respective decision regarding waiver

19 of service of the summons.

20          11.    As of the date of this Declaration, the Commission staff has not received a signed
21 waiver of service of the summons from either Mr. Apte or Ms. Richman.

22          12.    On March 31, 2021, the Commission delivered service requests on Form USM-94 to
23 the Senatsverwaltung für Justiz, which is the designated Central Authority under the Hague

24 Convention for service of process in the German State of Berlin (the “German Authority”), seeking to

25 effect service on Mr. Apte and Ms. Richman. Attached as Exhibit G is a true and correct copy of the

26 cover letter and Form USM-94 submitted to the German Authority requesting service of process on

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     SMYTH DECL. ISO MOTION TO SERVE                 3                           SEC V. RICHMAN, ET A L.
     DEFENDANTS BY ALTERNATIVE                                                 CASE NO. 21-CV-01911-CRB
     MEANS
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 1 Ms. Richman pursuant to the Hague Convention. A substantially identical request was delivered the
 2 same day to the German Authority for service upon Mr. Apte.

 3          13.     On June 3, 2021, the Commission received a response from the German Authority to
 4 the Commission’s service request pursuant to the Hague Convention. Attached as Exhibit H is a true

 5 and correct copy of the letter the Commission received from the German Authority in response to the

 6 Commission’s service request pursuant to the Hague Convention for Mr. Apte. Attached as Exhibit I

 7 is a true and correct copy of an English translation of the letter attached as Exhibit H. On June 7,

 8 2021, the Commission received a substantially identical letter from the German Authority in response

 9 to the Commission’s service request for Ms. Richman.

10          14.     Attached as Exhibit J is a true and correct copy of the relevant excerpts from the
11 German Ministry of Justice’s responses to the Special Commission of the Hague Convention on

12 Private International Law relating to the operation of the Hague Conventions on the Service of

13 Documents, Taking of Evidence and Apostilles from 27 October to 4 November 2003.

14

15          I declare under penalty of perjury under the laws of the United States of America that the
16 foregoing is true and correct and that this Declaration was signed in San Francisco, California on

17 June 10, 2021.

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                                                                         /s/ Bernard B. Smyth
19                                                                       BERNARD B. SMYTH
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     SMYTH DECL. ISO MOTION TO SERVE                   4                          SEC V. RICHMAN, ET A L.
     DEFENDANTS BY ALTERNATIVE                                                  CASE NO. 21-CV-01911-CRB
     MEANS
